
Per Curiam.
*973Appellant, Jacinte Periard, appeals the revocation of her probation and subsequent sentencing. Appellant contends the trial court erred: (1) because proof of her violations was based entirely on hearsay; (2) the evidence was insufficient to prove willfulness; and (3) the trial court lacked case jurisdiction to proceed with a violation hearing. The State confesses error on all three issues and does not oppose reversal of the order revoking probation and the sentence imposed thereafter. After reviewing the record, we agree that the trial court erred as to all three issues. We reverse the order revoking probation and the sentence imposed thereafter, and remand the case for the trial court to vacate those orders and to dismiss the violation proceeding.
Reversed and remanded with instructions.
Conner, Forst and Kuntz, JJ., concur.
